
Arguelles M.D., P.C. as Assignee of MANUSHKA LAIBHEN, Appellant,
againstOmni Indemnity Company, Respondent.



Appeal from an order of the Civil Court of the City of New York, Queens County (Ulysses Bernard Leverett, J.), entered June 12, 2013. The order granted defendant's motion for summary judgment dismissing the complaint.




ORDERED that the order is affirmed, with $25 costs.
For the reasons stated in Arguelles M.D., P.C. as Assignee of Marie Francoeur v Omni Indem. Co. (— Misc 3d —, 2016 NY Slip Op — [appeal No. 2013-1541 Q C], decided herewith), the order is affirmed.
Pesce, P.J., Aliotta and Elliot, JJ., concur.
Decision Date: March 30, 2016










